Case 2:05-cr-20070-SH|\/| Document 31 Filed 07/18/05 Page 1 of 2 Page|D 42

IN THE UNITED STATES DISTRICT COURT m `A&D’c‘
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA,

CLHR us §)BIQW: mm
W/DOF 4 4 444§»,44)4-43

Plaintiff,
vs. CR. NO. 05-20070-Ol-Ma

SANDRA BOYLAND ,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July lS, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Sandra Boyland, appearing in person and with
retained counsel, Mr. Handel R. Durham, Jr.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy Was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, October 21, 2005
at 1:30 p.m.

The defendant may remain on her present bond pending
Sentencing.

ENTERE:) this the 'z”\ day of July, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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with H~l|e 55 and/or 32fb) FHCrP on " "

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This notice confirms a copy of the document docketed as number 31 in
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Honorable Samuel Mays
US DISTRICT COURT

